Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 1 of 10 PageID# 115



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

  In re APPLICATION OF REPORTERS                        )
      COMMITTEE FOR FREEDOM OF                          )      1:18-mc-37 (LMB/JFA)
      THE PRESS TO UNSEAL CRIMINAL                      )
      PROSECUTION OF JULIAN ASSANGE                     )

                                     MEMORANDUM OPINION

          Before the Court is an application filed by the Reporters Committee for Freedom of the

 Press ("applicant" or the "Committee") seeking an order unsealing judicial records related to

 what the Committee believes is a criminal prosecution of WikiLeaks founder Julian Assange

 ("Assange"). The Committee's application will be denied without prejudice.

                                                  I.

          This application stems from a motion filed by the Government in a criminal prosecution

 of Seitu Sulayman Kokayi, who was charged with coercion and enticement of a minor. The

 Government moved to seal the criminal complaint and the supporting affidavit in that case,

 arguing that "[p]remature disclosure ... would jeopardize the investigation." Government's

 Motion to Seal Criminal Complaint and Supporting Documents Pursuant to Local Rule 49(B),

 ~   I, United States v. Kokayi, No. 18-mj-406 (E.D. Va. Aug. 22, 2018). Without explanation, the

 motion twice referred to an individual named "Assange," even though no such individual had

 been named as a codefendant or mentioned in the Kokayi complaint or supporting affidavit. In

 the first reference, the motion stated:

          The United States has considered alternatives less drastic than sealing, including,
          for example, the possibility of redactions, and has determined that none would
          suffice to protect this investigation. Another procedure short of sealing will not
          adequately protect the needs of law enforcement at this time because, due to the
          sophistication of the defendant and the publicity surrounding the case, no other
          procedure is likely to keep confidential the fact that Assange has been charged.

 Id.~ 3. In the second, it stated:
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 2 of 10 PageID# 116



        The complaint, supporting affidavit, and arrest warrant, as well as this motion and
        the proposed order, would need to remain sealed until Assange is arrested in
        connection with the charges in the criminal complaint and can therefore no longer
        evade or avoid arrest and extradition in this matter.

 Id. ,r 5 (emphasis added). The Government has characterized its references to "Assange" as

 "unintentional error." Government's Opp'n to Reporters Committee's Appl. [Dkt. No. 7]

 ("Gov't's Opp'n") 1.

        Although the magistrate judge initially granted the Government's motion to seal the

 Kokayi complaint, affidavit, arrest warrant, and motion to seal, see Order to Seal, Kokayi,

 No. 18-mj-406 (E.D. Va. Aug. 24, 2018), those documents (with the exception of the affidavit)

 were unsealed in early September 2018, after Kokayi had been arrested. See Order, Kokayi,

 No. 18-mj-406 (E.D. Va. Sept. 4, 2018). Once the motion to seal became public, news outlets

 and social media users noticed the two references to "Assange" and surmised that the

 Government had instituted criminal charges against Julian Assange, the well-known founder of

 WikiLeaks, though there is no public record of such charges having been filed. See Memo. of

 Points & Authorities in Supp. of the Appl. of the Reporters Committee for Freedom of the Press

 to Unseal Criminal Prosecution of Julian Assange [Dkt. No. 1-4] ("Comm.'s Memo.") 2-3.

        The Committee filed this application based on an asserted interest in accessing what it

 believes are judicial records related to a prosecution of Assange. Specifically, the application

 "seeks an order unsealing the court records-including, but not limited to, the Court's docket and

 any criminal complaint, indictment, or other charging document-from the government's

 criminal prosecution of Assange." Appl. of the Reporters Committee for Freedom of the Press to

 Unseal Criminal Prosecution of Julian Assange [Dkt. No. 1] ,r 12. The Government opposes the

 Committee's application on the ground that it has neither confirmed nor denied whether charges




                                                  2
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 3 of 10 PageID# 117



 have been filed against Assange and cannot be required to disclose that information before an

 arrest is made.

                                                   II.

        This case lies at the intersection of two weighty interests. One is the Government's need

 to be able to investigate criminal activity and successfully bring to justice those charged with

 criminal conduct. The other is the public's right to access judicial records and proceedings,

 which is an indispensable feature of the American justice system.

                                                   A.

        The public and the press share a qualified right to access civil and criminal proceedings and

 the judicial records filed therein. Doe v. Pub. Citizen, 749 F.3d 246,265 (4th Cir. 2014). This right

 "serves to promote trustworthiness of the judicial process, to curb judicial abuses, and to provide

 the public with a more complete understanding of the judicial system, including a better perception

 of fairness." Id. at 266 (citation omitted). For criminal cases, public access "plays a particularly

 significant role in the functioning of the judicial process" and inures to the benefit of "both the

 defendant and ... society as a whole." Globe Newspaper Co. v. Superior Court, 457 U.S. 596,

 606 (1981 ). Indeed, presumptive openness "has long been recognized as an indispensable

 attribute of an Anglo-American trial." Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

 569 ( 1980) (plurality opinion).

         The right to access judicial records I flows from two sources: the common law and the

 First Amendment. Va. Dep't of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004).



 1
  For the right of access to attach, "the materials at issue must, at minimum, be 'judicial
 records"'-those documents that are "judicially authored or created" or "filed with the court"
 and that "play a role in the adjudicative process" or "adjudicate substantive rights." Benedict v.
 Hankook Tire Co., 323 F. Supp. 3d 747, 755 (E.D. Va. 2018) (citation omitted).

                                                    3
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 4 of 10 PageID# 118



 Although they often provide complementary protections, the doctrines are not coextensive. The

 common law right applies to a broader range of scenarios, but the First Amendment affords a

 greater degree of substantive protection.

        At common law, a presumption of access "extends to all judicial documents and records,"

 Doe, 749 F.3d at 265-66; however, that right "is not absolute," Nixon v. Warner Commc'ns, Inc.,

 435 U.S. 589, 598 (1978), and may be rebutted upon a showing of "a 'significant countervailing

 interest' in support of sealing that outweighs the public's interest in openness," In re Application of

 the United States, 707 F.3d 283,293 (4th Cir. 2013) (citation omitted).2 In determining whether

 judicial records should be kept under seal, courts consider "whether the records are sought for

 improper purposes, such as promoting public scandals or unfairly gaining a business advantage;

 whether release would enhance the public's understanding of an important historical event; and

 whether the public has already had access to the information contained in the records." In re

 Knight Pub. Co., 743 F.2d 231,235 (4th Cir. 1984).

        The First Amendment right of access, conversely, "has been extended only to particular

 judicial records and documents." Stone v. Univ. of Md. Med. Sys. Corp.~ 855 F.2d 178, 180 (4th

 Cir. 1988). A court faced with a First Amendment right-of-access issue must first "determine the

 source of the right of access with respect to each document, because only then can it accurately

 weigh the competing interests at stake." Doe, 749 F.3d at 266 (citation omitted). In determining

 whether the First Amendment applies to a type of record or proceeding, courts employ the




 2
  The Fourth Circuit has on occasion articulated the inquiry as whether "countervailing interests
 heavily outweigh the public interests in access." See, e.g., Va. Dep't of State Police, 386 F.3d at
 575 (emphasis added) (citation omitted). Nonetheless, it has since been made clear that "to
 overcome the common law presumption of access, the government's interests must merely
 outweigh the public's interest." In re Application, 707 F .3d at 293 n.12.

                                                   4
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 5 of 10 PageID# 119



 "experience and logic" test, asking "whether the place and process have historically been open to

 the press and general public" and "whether public access plays a significant positive role in the

 functioning of the particular process." Balt. Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989)

 (citation omitted). Where the First Amendment applies, "access may be restricted only if closure is

 'necessitated by a compelling government interest' and the denial of access is 'narrowly tailored to

 serve that interest."' Doe, 749 F.3d at 266 (citation omitted); see Press-Enter. Co. v. Superior

 Court, 464 U.S. 501,510 (1984) ("The presumption of openness may be overcome only by an

 overriding interest based on findings that closure is essential to preserve higher values ....").

        "[W]hether arising under the First Amendment or the common law," the right of public

 access to judicial records and proceedings "may be abrogated only in unusual circumstances."

 Stone, 855 F .2d at 182. The reason for this presumption is simple: ''Any step that withdraws an

 element of the judicial process from public view makes the ensuing decision look more like a fiat

 and requires rigorous justification." Doe, 749 F.3d at 266 (citation omitted).

                                                   B.

        The parties agree that once an individual has been charged and arrested, both the First

 Amendment and the common law provide the public with a qualified right to access at least some

 judicial records in connection with the ongoing prosecution. Charging documents are a

 quintessential example. 3 Historically, the openness of the charging document was intimately



 3 Equally well established is that "in the criminal context, ... the sealing of docket sheets [may
 be] overbroad and incompatible with the First Amendment presumptive right of access." Doe,
 749 F.3d at 268. This principle is "grounded in the commonsensical observation that most of the
 information contained on a docket sheet is material that is presumptively open to public
 inspection," id., and unlikely to be prejudicial, In re State-Record Co., 917 F.2d 124, 129 (4th
 Cir. 1990) (per curiam). Further, "the ability of the public and press to attend civil and criminal
 cases would be merely theoretical if the information provided by docket sheets were inaccessible."
 Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 93-94 (2d Cir. 2004) ("In this respect, docket

                                                    5
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 6 of 10 PageID# 120



 connected with the notion of the open trial itself; although government investigations and grand

 jury deliberations were shrouded in secrecy, formal charges were typically made "either by

 indictment presented or information filed in court." United States v. Smith, 776 F.2d 1104, 1112

 (3d Cir. 1985). As the Third Circuit put it, "This historic tradition of public access to the charging

 document in a criminal case reflects the importance of its role in the criminal trial process and the

 public's interest in knowing its contents." See id. ("Knowledge of the charge or charges is essential

 to an understanding of the trial, essential to an evaluation of the performance of counsel and the

 court, and, most importantly, essential to an appraisal of the fairness of the criminal process to the

 accused."). 4

         Of course, that a judicial record is subject to the right of access does not mean that the

 public is entitled to inspect the record at all times and in every case. To the contrary, that the

 right is presumptive means that it may be overcome, in favor of nondisclosure or sealing, where

 appropriate. This is usually the case before a charged person has been arrested because of the

 government's well-established interests in preventing the accused from avoiding arrest,

 destroying or tampering with evidence, or otherwise interfering with the prosecution; securing

 privacy rights or confidential sources of information; and protecting the public.



 sheets provide a kind of index to judicial proceedings and documents, and endow the public and
 press with the capacity to exercise their rights guaranteed by the First Amendment.").
 4
   That charging documents are entitled to the same presumption of openness as criminal trials
 accords with the principle that the Sixth Amendment right to counsel attaches as of "the time that
 judicial proceedings have been initiated" against a defendant "by way of formal charge,
 preliminary hearing, indictment, information, or arraignment." Brewer v. Williams, 430 U.S.
 387, 398 (1977) (citation omitted). The filing of a charging document "is sufficiently formal, and
 the government's commitment to prosecute it sufficiently concrete," that from that point on the
 defendant ceases to be an undifferentiated member of the polity and instead is "faced with the
 prosecutorial forces of organized society." Rothgery v. Gillespie County~ 554 U.S. 191, 207
 (2008) (citation omitted). It is the operation of those prosecutorial forces against the defendant
 that triggers the public's right to access the charging document.


                                                    6
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 7 of 10 PageID# 121



                                                   C.

        Although the Government recognizes that First Amendment right-to-access analysis

 typically depends on what "type of document" is being sought, it asserts that courts must also

 consider the "stage at which public access is sought," and specifically it argues that there is no

 First Amendment right to access charging documents "before an arrest." Gov't's Opp'n at 2-3.

 The Committee responds that where a defendant has been formally charged, whether he has been

 arrested will affect the Government's ability to satisfy its burden to keep the charging document

 under seal but does not change whether the First Amendment applies as a threshold matter.

        The Committee has the better argument. The Government principally points to the Ninth

 Circuit's opinion in Times Mirror Co. v. United States, 873 F.2d 1210 (9th Cir. 1989), which

 held that although the public has a First Amendment right to access a search warrant affidavit if

 the suspect is charged and ultimately moves to suppress evidence from the search, there is no

 such right "at [the] stage in the warrant proceedings" when "a pre-indictment investigation is

 ongoing," id. at 1217-19. To the extent this case law supports a clear dividing line based on the

 stage of a proceeding, that line falls at the filing of formal charges, not arrest. 5 The Third Circuit




 5
   For example, the Fourth Circuit has rejected a presumptive First Amendment right of access to
 Stored Communications Act ("SCA") orders issued under 18 U.S.C. § 2703, holding that because
 SCA proceedings "are ex parte in nature" and "occur at the investigative, pre-grand jury, pre-
 indictment phase of what may or may not mature into an indictment," they "are not amenable to
 the practices and procedures employed in connection with other judicial proceedings." In re
 Application, 707 F.3d at 292 (citation omitted) (emphasis added). Affidavits filed in connection
 with search warrant proceedings are also '"necessarily ex parte" and thus beyond the scope of the
 First Amendment right. See Goetz, 886 F.2d at 64-65. In fact, Times Mirror, on which the
 Government relies, confirms this point. See 873 F.2d at 1217-18 ("While warrant materials may, in
 due course, be disclosed to a defendant so she can challenge the constitutionality of the search at a
 suppression hearing to which the public has a First Amendment right of access, it does not follow
 that the public should necessarily have access to the information ... when an investigation is
 ongoing but before indictments have been returned." (emphasis added)).


                                                    7
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 8 of 10 PageID# 122



 was therefore correct to acknowledge that the presumptive right to charging documents applies-

 but may be overcome in light of the "well-grounded fear of flight by the accused to avoid

 apprehension"-before the defendant has been arrested. See Smith, 776 F.2d at 1112.

                                                 D.

        What makes this case unique is that the Government has not acknowledged whether

 formal charges have been filed against Assange, and the Committee has not cited any authority

 supporting the notion that the public has a right to require the Government to confirm or deny

 that it has charged someone. 6 The dispositive issue in this proceeding is whether, under these

 circumstances, the Committee's application is ripe for judicial review.

        In the Committee's view, it is a fact "that Assange has been criminally charged."

 Comm.'s Memo. 1. It supports this view by pointing to the two sentences in the Government's

 motion to seal in Kokayi as well as to other cases involving Assange or WikiLeaks and news

 stories reporting that the Government has charged Assange. See id. at 2-3. 7 Taken together, the

 Committee argues that the "case against Assange is already a matter of public knowledge" and

 that the Government is not entitled "to put the genie back" in the bottle. Id. at 10-11 (quoting

 Gambale v. Deutsche Bank AG, 377 F.3d 133, 144 (2d Cir. 2004)).


 6
   To the extent the Committee is seeking to force the Government to disclose whether charges
 have been filed, the Committee's application must be dismissed because the fact of whether
 charges have been filed is not a 'judicial record" in the first place. See In re Application,
 707 F.3d at 290-91 (collecting case law discussing which documents qualify as "judicial
 records"); see also United States v. Amodeo, 44 F.3d 141, 145-46 (2d Cir. 1995) (concluding
 that to constitute a judicial record, a document must be "relevant to the performance of the
 judicial function and useful .in the judicial process").
 7
   For instance, the Committee highlights the widely publicized indictment of Roger Stone,
 claiming that the allegations in the indictment suggest that Assange was involved in the release
 of hacked emails during the run-up to the 2016 presidential election and that those allegations
 "undercut[] any argument on the part of the government for continued sealing" in this
 proceeding. See Notice [0kt. No. 13] 1-2.

                                                  8
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 9 of 10 PageID# 123



        In response, the Government admits that it made "an unintentional error" in the Kokayi

 motion but declines to confirm or deny that any charges have been filed against Assange. It

 asserts that the Committee's application is based only on guesswork-or, as counsel for the

 Government put it during oral argument, "The only thing you can conclude from our mistake is

 that we made a mistake, and anything else is speculation." Tr. of Mot. Hr'g [Dkt. No. 10] 14.

        The Committee has not demonstrated with sufficient certainty that Assange has been

 charged. Unlike in other high-profile cases, the Government has not affirmatively disclosed that

 charges have been filed. 8 Although the Government acknowledges that it made a mistake in the

 Kokayi motion, the nature of that mistake is fundamentally unclear, which is why the Committee

 seeks to bolster its view by pointing to news reports and other civil and criminal cases. The

 Committee's evidentiary amalgam of an obviously erroneous filing in an unrelated case, public

 speculation, news stories, and anonymous statements by government officials does not supply a

 level of certainty comparable to that afforded by official acknowledgement.

        Accordingly, the question is how the Court should analyze a request for public access to a

 charging document where there has not been a sufficiently certain disclosure that charges have

 been filed. The most appropriate way to approach that question is through the lens of the ripeness

 doctrine, which "is drawn both from Article III limitations on judicial power and from prudential

 reasons for refusing to exercise jurisdiction." Reno v. Catholic Soc. Servs., Inc., 509 U.S. 43, 57

 n.18 (1993). In essence, it "concerns the appropriate timing of judicial intervention," In re

 Naranjo, 768 F.3d 332, 347 (4th Cir. 2014) (citation omitted), and serves "to prevent the courts,



 8
   Cf., e.g., Press Release, U.S. Dep't of Justice, U.S. Charges Russian GRU Officers with
 International Hacking and Related Influence and Disinformation Operations (Oct. 4, 2018),
 https://tinyurl.com/y8jdnj9x (reporting, before any of the defendants had been arrested, that a
 federal grand jury had indicted several Russian intelligence officers).

                                                  9
Case 1:18-mc-00037-LMB-JFA Document 14 Filed 01/30/19 Page 10 of 10 PageID# 124



 through avoidance of premature adjudication, from entangling themselves in abstract

 disagreements," Abbott Labs. v. Gardner, 387 U.S. 136, 148 (1967). In assessing whether a

 matter is ripe for judicial review, courts must bear in mind that ripeness is "very much a matter

 of practical common sense." Cont' 1 Air Lines, Inc. v. Civil Aeronautics Bd., 522 F .2d 107, 124

 (D.C. Cir. l 974)(en bane).

        "[T]he settled rule that the Court will not 'anticipate a question of constitutional law in

 advance of the necessity of deciding it,"' Petite v. United States, 361 U.S. 529,531 (1960) (per

 curiam) (quoting Liverpool, N.Y. & Phila. S.S. Co. v. Comm'rs of Emigration, 113 U.S. 33, 39

 (1885)), requires that the Committee's application be dismissed. Until there is a sufficiently

 certain disclosure that charges have in fact been filed, the Committee's common law and First

 Amendment claims are premature. To hold otherwise would mean that any member of the public

 or press-by demanding access to judicial records based on little more than speculation-could

 effectively force the Government to admit or deny that charges had been filed. Permitting such

 fishing expeditions would require courts to sort through endless factual permutations giving rise

 to varying degrees of uncertainty. Courts cannot perform the delicate balancing required by the

 First Amendment and common law doctrines under such uncertain circumstances.

                                                  III.

        For the reasons stated above, the Committee's application will be denied without

 prejudice by an appropriate Order to be issued with this Memorandum Opinion.

         Entered this j_Q_~ay of January, 2019.




 Alexandria, Virginia
                                                               Leonie M. Brinkema
                                                               United States District Judge           ..... :, ·.~ ...



                                                  10
